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                        IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF SOUTH CAROLINA

                                    COLUMBIA DIVISION


Mother Doe, individually and as the           )
Mother and Natural Guardian for Jane          )           C.A. No. 3:18-cv-02731-CMC
Doe, a minor,                                 )
                                              )
       Plaintiff,                             )
                                              )       STIPULATION OF DISMISSAL
vs.                                           )      AS TO DEFENDANT RICHLAND
                                              )     COUNTY SCHOOL DISTRICT TWO
Richland County School District Two,          )
Sheriff of Richland County in his official    )
capacity d/b/a Richland County Sheriff's      )
Department ("RCSD"), John E. Ewing,           )
and Jamel Bradley,                            )
                                              )
       Defendants.                            )
                                              )

       Plaintiff, Mother Doe, individually and as the Mother and Natural Guardian for Jane Doe,

a Minor, and Defendant Richland County School District Two, by and through their undersigned

attorneys, hereby stipulate pursuant to Rule 41(a)(1), FRCP, that the above-entitled action, and

all claims asserted therein, against Defendant Richland County School District Two, be

dismissed with prejudice.


WE SO STIPULATE:


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Attorneys for Defendant Richland County
School District Two


July 15, 2020
Columbia, South Carolina
